USCA4 Appeal: 22-4369   Doc: 61-1      Filed: 04/25/2023 Pg: 1 of 2         Total Pages:(1 of 3)
                Case 1:19-cr-00449-LO Document 626 Filed 04/25/23 Page 1 of 3

                                                                          FILED: April 25, 2023


                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT

                          No. 22-4369,     US v. Kenneth Ravenell
                                           1:19-cr-00449-LO-1

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                                      NOTICE OF JUDGMENT
                                       ________________________

        Judgment was entered on this date in accordance with Fed. R. App. P. 36. Please
        be advised of the following time periods:

        PETITION FOR WRIT OF CERTIORARI: The time to file a petition for writ
        of certiorari runs from the date of entry of the judgment sought to be reviewed, and
        not from the date of issuance of the mandate. If a petition for rehearing is timely
        filed in the court of appeals, the time to file the petition for writ of certiorari for all
        parties runs from the date of the denial of the petition for rehearing or, if the
        petition for rehearing is granted, the subsequent entry of judgment. See Rule 13 of
        the Rules of the Supreme Court of the United States; www.supremecourt.gov.

        VOUCHERS FOR PAYMENT OF APPOINTED OR ASSIGNED
        COUNSEL: Vouchers must be submitted within 60 days of entry of judgment or
        denial of rehearing, whichever is later. If counsel files a petition for certiorari, the
        60-day period runs from filing the certiorari petition. (Loc. R. 46(d)). If payment is
        being made from CJA funds, counsel should submit the CJA 20 or CJA 30
        Voucher through the CJA eVoucher system. In cases not covered by the Criminal
        Justice Act, counsel should submit the Assigned Counsel Voucher to the clerk's
        office for payment from the Attorney Admission Fund. An Assigned Counsel
        Voucher will be sent to counsel shortly after entry of judgment. Forms and
        instructions are also available on the court's web site, www.ca4.uscourts.gov, or
        from the clerk's office.

        BILL OF COSTS: A party to whom costs are allowable, who desires taxation of
        costs, shall file a Bill of Costs within 14 calendar days of entry of judgment.
        (FRAP 39, Loc. R. 39(b)).
USCA4 Appeal: 22-4369   Doc: 61-1      Filed: 04/25/2023 Pg: 2 of 2         Total Pages:(2 of 3)
                Case 1:19-cr-00449-LO Document 626 Filed 04/25/23 Page 2 of 3

        PETITION FOR REHEARING AND PETITION FOR REHEARING EN
        BANC: A petition for rehearing must be filed within 14 calendar days after entry
        of judgment, except that in civil cases in which the United States or its officer or
        agency is a party, the petition must be filed within 45 days after entry of judgment.
        A petition for rehearing en banc must be filed within the same time limits and in
        the same document as the petition for rehearing and must be clearly identified in
        the title. The only grounds for an extension of time to file a petition for rehearing
        are the death or serious illness of counsel or a family member (or of a party or
        family member in pro se cases) or an extraordinary circumstance wholly beyond
        the control of counsel or a party proceeding without counsel.

        Each case number to which the petition applies must be listed on the petition and
        included in the docket entry to identify the cases to which the petition applies. A
        timely filed petition for rehearing or petition for rehearing en banc stays the
        mandate and tolls the running of time for filing a petition for writ of certiorari. In
        consolidated criminal appeals, the filing of a petition for rehearing does not stay
        the mandate as to co-defendants not joining in the petition for rehearing. In
        consolidated civil appeals arising from the same civil action, the court's mandate
        will issue at the same time in all appeals.

        A petition for rehearing must contain an introduction stating that, in counsel's
        judgment, one or more of the following situations exist: (1) a material factual or
        legal matter was overlooked; (2) a change in the law occurred after submission of
        the case and was overlooked; (3) the opinion conflicts with a decision of the U.S.
        Supreme Court, this court, or another court of appeals, and the conflict was not
        addressed; or (4) the case involves one or more questions of exceptional
        importance. A petition for rehearing, with or without a petition for rehearing en
        banc, may not exceed 3900 words if prepared by computer and may not exceed 15
        pages if handwritten or prepared on a typewriter. Copies are not required unless
        requested by the court. (FRAP 35 & 40, Loc. R. 40(c)).

        MANDATE: In original proceedings before this court, there is no mandate. Unless
        the court shortens or extends the time, in all other cases, the mandate issues 7 days
        after the expiration of the time for filing a petition for rehearing. A timely petition
        for rehearing, petition for rehearing en banc, or motion to stay the mandate will
        stay issuance of the mandate. If the petition or motion is denied, the mandate will
        issue 7 days later. A motion to stay the mandate will ordinarily be denied, unless
        the motion presents a substantial question or otherwise sets forth good or probable
        cause for a stay. (FRAP 41, Loc. R. 41).
USCA4 Appeal: 22-4369   Doc: 61-2      Filed: 04/25/2023 Pg: 1 of 1         Total Pages:(3 of 3)
                Case 1:19-cr-00449-LO Document 626 Filed 04/25/23 Page 3 of 3



                                                                     FILED: April 25, 2023


                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT

                                      ___________________

                                            No. 22-4369
                                       (1:19-cr-00449-LO-1)
                                      ___________________

         UNITED STATES OF AMERICA

                      Plaintiff - Appellee

         v.

         KENNETH WENDELL RAVENELL

                      Defendant - Appellant

                                      ___________________

                                        JUDGMENT
                                      ___________________

              In accordance with the decision of this court, the judgment of the district

        court is affirmed.

              This judgment shall take effect upon issuance of this court's mandate in

        accordance with Fed. R. App. P. 41.

                                               /s/ PATRICIA S. CONNOR, CLERK
